                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

In re:                                    )     Case No. 22-10571
                                          )
Matthew M. Motil,                         )     Chapter 7
                                          )
      Debtor.                             )     Judge Harris
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           STATEMENT OF NO PAYMENT ADVICES AVAILABLE
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         Matthew M. Motil was not a wage earner during the pre-petition period, and as a result,

there are no payment advices available to file in this case.




                                                      Respectfully submitted,
                                                      /s/Thomas W. Coffey
                                                      Thomas W. Coffey (0046877)
                                                      Coffey Law LLC
                                                      2430 Tremont Avenue
\                                                     Cleveland, OH 44113
                                                      (216) 870-8866
                                                      tcoffey@tcoffeylaw.com

                                                      Counsel for the Debtor




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